Case 1:21-cv-02900-CJN Document 135-2 Filed 12/09/23 Page 1 of 4




                       EXHIBIT A
           Case 1:21-cv-02900-CJN Document 135-2 Filed 12/09/23 Page 2 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

      SMARTMATIC USA CORP.,                       )
   SMARTMATIC HOLDING B.V., AND                   )
     SGO CORPORATION LIMITED,                     )
                                                  )
                   Plaintiffs,                    )
                                                         Civil Action No. 1:21-cv-02900-CJN
                       v.                         )
                                                  )
   HERRING NETWORKS, INC., D/B/A                  )
   ONE AMERICA NEWS NETWORK,                      )
                                                  )
                  Defendant.                      )

  DECLARATION OF JOHN K. EDWARDS IN SUPPORT OF OAN’S MOTION FOR
  PROTECTIVE ORDER FORBIDDING PLAINTIFFS’ THIRD-PARTY DISCOVERY
              THAT VIOLATES THE SCHEDULING ORDER


I, John K. Edwards, declare as follows:

           1.   I am over the age of 21 and competent to make this declaration. I am an attorney

at the law firm of Jackson Walker LLP, and am counsel for Defendant Herring Networks, Inc.,

d/b/a One American News Network (“OAN”). I have personal knowledge of the facts stated in

this declaration and those facts are true and correct. I submit this Declaration in support of OAN’s

Motion for Protective Order Forbidding Plaintiffs’ Third-Party Discovery That Violates the

Scheduling Order.

           2.   On October 11, 2022, the Court entered a scheduling order. See ECF No. 42. The

scheduling order set the “Deadline for Completion of Fact Discovery” as December 8, 2023.

Id. ¶ 4.

           3.   As of the date of this declaration, the Court has not modified the scheduling order.

           4.   On November 21, 2023, Plaintiffs Smartmatic USA Corp., Smartmatic

International Holding B.V., and SGO Corporation Limited (collectively, “Smartmatic” or
        Case 1:21-cv-02900-CJN Document 135-2 Filed 12/09/23 Page 3 of 4




“Plaintiffs”) issued deposition and documents subpoenas to Media Matters for America (“Media

Matters”). The subpoenas set compliance dates of January 19, “2023 [sic]”, and December 12,

“2024 [sic],” for the deposition and document production, respectively. On November 21, 2023,

Smartmatic’s counsel noticed the subpoenas to OAN. A true and correct copy of the notice is

attached as Exhibit B.

       5.      On November 22, 2023, Plaintiffs issued deposition and documents subpoenas to

Kagan Media Group, c/o S&P Global Inc. (“Kagan”). The subpoenas set compliance dates of

January 12, “2023 [sic]”, and December 12, “2024 [sic],” for the deposition and document

production, respectively. On November 22, 2023, Smartmatic’s counsel noticed the subpoenas to

OAN. A true and correct copy of the notice is attached as Exhibit C.

       6.      On December 8, 2023, Plaintiffs issued deposition and documents subpoenas to

Project Veritas. The subpoenas set compliance dates of February 2, 2024, and January 4, 2024, for

the deposition and document production, respectively. On December 8, 2023, Smartmatic’s

counsel noticed the subpoenas to OAN. A true and correct copy of the notice is attached as Exhibit

D.

       7.      On December 8, 2023, Plaintiffs issued a documents subpoena to “Registered

Agent for ComScore” (“ComScore”). The subpoena set a compliance date of January 4, 2024. On

December 8, 2023, Smartmatic’s counsel noticed the subpoena to OAN. A true and correct copy

of the notice is attached as Exhibit E.

       8.      Assuming the Media Matters and Kagan subpoenas’ compliance dates contain

typographical errors for the years, the subpoenas Smartmatic issued to the Media Matters, Kagan,

Project Veritas, and ComScore all set compliance dates past the Court’s fact-discovery deadline

of December 8, 2023.




                                                2
        Case 1:21-cv-02900-CJN Document 135-2 Filed 12/09/23 Page 4 of 4




       9.      Smartmatic’s instant noncompliance with the scheduling order is not an isolated

occurrence. In my view, this is part of a pattern and practice by Smartmatic of ignoring the fact

discovery deadline set by the Court, which has not been changed by this Court. See, e.g., ECF No.

114 at 5–10 (documenting Smartmatic’s noncompliance with then-approaching discovery

deadline); ECF No. 106 at 6–8 (noting Smartmatic’s insistence that depositions be scheduled

beyond the discovery deadline).

       10.     The repeated instances of non-compliance have already imposed significant costs

on OAN, and this particular instance—if permitted—will add to those costs. Based on my 25 years

of experience practicing civil litigation, and my knowledge of the work required to address third-

party discovery (including but not limited to preparing objections, reviewing and analyzing

documents produced, preparing for depositions, and attending depositions), I estimate that the

instant subpoenas will cause the incurrence of at least $20,000.00 in attorneys’ fees and costs

(assuming OAN’s requested relief is not granted). OAN considers these costs significant and

certainly not de minimis, and also unnecessary because of the untimely compliance dates set forth

in the subpoenas which are past the current fact-discovery deadline of December 8, 2023.

       11.     On December 8, 2023, I sent an email to Smartmatic’s counsel, asking for

Smartmatic to withdraw the four subpoenas. Smartmatic’s counsel responded indicating the

subpoenas were proper, and Smartmatic is opposed to a motion for protective order.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

Executed on December 9, 2023.



                                                     __________________________________
                                                     John K. Edwards



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